948 F.2d 1281
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Aaron HOLSEY, Plaintiff-Appellant,v.William Donald SCHAEFER, Governor, Individually and asGovernor of the State of Maryland;  Bishop L. Robinson,Individually and as the Secretary of Public Safety andCorrectional Services;  Paul Davis, Individually and asChairperson of the Maryland Parole Commission;  DonaldAtkinson, Individually and as Director of the Department ofParole and Probation, Defendants-Appellees.
    No. 91-7217.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 28, 1991.Decided Nov. 15, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Frank A. Kaufman, Senior District Judge.  (CA-89-2280-K)
      Aaron Holsey, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Timothy James Paulus, Assistant Attorney General, George Albert Eichhorn, III, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, SPROUSE, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Aaron Holsey appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Holsey v. Schaefer, No. CA-89-2280-K (D.Md. July 19, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    